           Case 1:11-cv-04296-MHS Document 24 Filed 05/14/12 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

LAURA C. MOORE and
MELANIE L. ARNOLD,

               Plaintiffs,
                                                    CIVIL ACTION NO.
      V.
                                                    l:ll-CV-04296-MHS
A L L E N & BRIGHT, P.C., and
LISA E. A L L E N ,

               Defendants.

                                      ORDER

      This case is before the Court for consideration of the Joint Motion to

Approve Settlement [Doc. 23].         After reviewing the record and the joint

submission of the parties, the Court enters the following Order.

      Having reviewed the Settlement Agreement and Mutual Release of A l l

Claims (the "Agreement") [Doc. 23-1] executed by the parties, the Court finds that

the settlement is fair, adequate, and reasonable.       The Court finds that the

Agreement was negotiated at arm's length at mediation before a U.S. Magistrate

Judge and is not the result of any collusion.

      Therefore, the Joint Motion to Approve Settlement [Doc. 23] is hereby

GRANTED, the settlement of the parties is hereby APPROVED and the



                                           1
        Case 1:11-cv-04296-MHS Document 24 Filed 05/14/12 Page 2 of 2




Agreement [Doc. 23-1] is hereby incorporated into this Order, and all proceedings

in this case are hereby STAYED with the parties to either file mutual dismissals

within ten (10) days after Defendants' last required payment deadline under the

Agreement or notify the Court of any default prior to that date. The Clerk is

directed to administratively close this case, subject to reopening for setdement

enforcement actions pursuant to the terms of the Agreement. Fees and costs shall

be paid by Defendants to Plaintiffs' counsel as set forth in the Agreement, without

prejudice to any claim for attorney's fees and costs incurred by Plaintiffs' counsel

in any future proceedings to enforce the obligations required by this Agreement in

the event of default or other breach of the Agreement.

      SO ORDERED this




                                       The/HonorablWMM vin H. Shoob
                                       United States District Court




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